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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

IN RE:                                         )
                                               )
ROBERT WILLIAM WOODARD,                        )      No: 16-90899
                                               )      Chapter 7
                Debtor.                        )


                                  CERTIFICATE OF SERVICE

        I certify that on April 18, 2018, at 5:00 p.m., I caused to be deposited a copy of the Hearing
Set re: Motion for Contempt (Doc. 140) in a U.S. Post Office box at Millikin Court, 132 South
Water Street, Decatur, Illinois, enclosed in an envelope with proper postage prepaid, addressed to
the following in the manner set forth:

         Robb J. Perry, Respondent             Linda S. Perry, Respondent
         1593 East County Road 250 North       1593 East County Road 250 North
         Mattoon, IL 61938                     Mattoon, IL 61938

         Brian O. Watson                       Erich P. Nathe
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         Chicago, IL 60602                     Chicago, IL 60602


                                               /s/ Jeffrey D. Richardson
                                               JEFFREY D. RICHARDSON
                                               Chapter 7 Trustee
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